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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION at LEXINGTON



UNITED STATES OF AMERICA,               )
                                        )
         Plaintiff,                     )
                                        )            Criminal Case No.
v.                                      )               12-cr-65-JMH
                                        )
NICHOLAS COREY GARNER,                  )       MEMORANDUM OPINION AND ORDER
                                        )
         Defendant.                     )



                                        ***



        This matter is again before the Court upon Nicholas Corey

Garner’s request for appointment of counsel on appeal.                   On March

9, 2015, the Court received a Motion, dated February 24, 2015,

in chambers [DE 680].             On March 10, 2015, the Clerk of Court

also received a Motion for appointment of counsel on appeal from

Garner [DE 679], also dated February 24, 2015.                     Upon review,

these requests for relief are nearly identical to that already

received by the Court [DE 662], also dated February 24, 2015,1

and ruled upon by the Court on March 3, 2015 [DE 669].                          The

Court has denied his motion and sees no reason to reconsider his

request again identical motions of the same date.


1
  In its Order of March 3, 2015, the court mistakenly identified that request
for relief as dated February 27, 2015.

                                            1
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      Accordingly, IT IS ORDERED:

     (1)   that Defendant’s Motions [DE 679 and 680] to appoint

new counsel, dated February 24, 2015, and received on March 9

and 10, 2015, are DENIED AS MOOT, in light of the Court’s March

3, 2015, Order [DE 669];

     (2)   that the Clerk shall forward a copy of the Court’s

March 3, 2015 Order [DE 669], to Defendant Garner along with a

copy of this Order.

     This the 10th day of March, 2015.




                                     2
